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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 14-07218
         Allecia L Murphy

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 02/28/2014.

         2) The plan was confirmed on 05/07/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 12/07/2016.

         6) Number of months from filing to last payment: 33.

         7) Number of months case was pending: 35.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor                $66,876.87
        Less amount refunded to debtor                             $969.23

NET RECEIPTS:                                                                                      $65,907.64


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                   $3,853.00
    Court Costs                                                                 $0.00
    Trustee Expenses & Compensation                                         $2,607.05
    Other                                                                       $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                    $6,460.05

Attorney fees paid and disclosed by debtor:                    $147.00


Scheduled Creditors:
Creditor                                         Claim         Claim            Claim        Principal      Int.
Name                                   Class   Scheduled      Asserted         Allowed         Paid         Paid
AMERICAN INFOSOURCE                Unsecured            NA         758.25           758.25           0.00       0.00
America'S Fi                       Unsecured           0.00           NA               NA            0.00       0.00
America'S Fi                       Unsecured           0.00           NA               NA            0.00       0.00
America's Financial Choice, Inc.   Unsecured         700.00           NA               NA            0.00       0.00
CashLand                           Unsecured         707.00           NA               NA            0.00       0.00
Comcast Cable                      Unsecured         674.00           NA               NA            0.00       0.00
Concordia University               Unsecured         911.00           NA               NA            0.00       0.00
Credit Collection Services         Unsecured          67.00           NA               NA            0.00       0.00
HELLER & FRISONE                   Unsecured         500.00           NA               NA            0.00       0.00
HillCrest & Davidson               Unsecured      1,014.00            NA               NA            0.00       0.00
IL DEPT OF REVENUE                 Unsecured            NA            NA               NA            0.00       0.00
Illiana Financial                  Unsecured      2,628.00       2,464.04         2,464.04           0.00       0.00
ILLINOIS AMERICAN WATER            Unsecured          44.00         44.09            44.09           0.00       0.00
INDIANA DEPT OF REVENUE            Priority             NA       3,034.08         3,034.08      2,766.09        0.00
INDIANA DEPT OF REVENUE            Secured              NA         404.44           404.44           0.00       0.00
INDIANA DEPT OF REVENUE            Unsecured            NA         300.00           704.44           0.00       0.00
INGALLS MEMORIAL HOSPITAL          Unsecured         546.00      1,634.40         1,634.40           0.00       0.00
INTEGRITY FINANCIAL PARTNERS       Unsecured         645.00           NA               NA            0.00       0.00
INTERNAL REVENUE SERVICE           Priority      15,196.20     46,921.99        46,921.99      45,215.27        0.00
INTERNAL REVENUE SERVICE           Priority            0.00    12,465.56        12,465.56      11,466.23        0.00
INTERNAL REVENUE SERVICE           Unsecured            NA       1,175.67         1,175.67           0.00       0.00
ISAC                               Unsecured     35,530.00            NA               NA            0.00       0.00
MB FINANCIAL                       Unsecured         785.00           NA               NA            0.00       0.00
Methodist Hospitals                Unsecured          64.26           NA               NA            0.00       0.00
Methodist Hospitals                Unsecured         151.00           NA               NA            0.00       0.00
NCEP LLC                           Unsecured            NA     14,007.89        14,007.89            0.00       0.00
Northway Financial                 Unsecured      1,317.00            NA               NA            0.00       0.00
PAYDAY LOAN STORE OF IL INC        Unsecured      2,516.00            NA               NA            0.00       0.00
PRA RECEIVABLES MGMT               Unsecured            NA       1,325.41         1,325.41           0.00       0.00
PRA RECEIVABLES MGMT               Unsecured            NA         284.04           284.04           0.00       0.00
PRESTIGE FINANCIAL SVC             Unsecured     11,578.12     11,309.65        11,309.65            0.00       0.00



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Scheduled Creditors:
Creditor                                        Claim         Claim         Claim        Principal       Int.
Name                                  Class   Scheduled      Asserted      Allowed         Paid          Paid
PROGRESSIVE LEASING LLC           Unsecured            NA           0.00      1,648.57           0.00        0.00
PROGRESSIVE LEASING LLC           Secured              NA       1,648.57          0.00           0.00        0.00
SALLIE MAE                        Unsecured    138,000.00            NA            NA            0.00        0.00
SULLIVAN URGENT AID CENTERS       Unsecured          25.40         16.40         16.40           0.00        0.00
SULLIVAN URGENT AID CENTERS       Unsecured          41.00         33.70         33.70           0.00        0.00
Trustmark Recovery Services       Unsecured         264.00           NA            NA            0.00        0.00
U.S. Bankruptcy Court             Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF ED NAVIENT SOLUTIONS   Unsecured     70,724.00     76,278.63           0.00           0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
US DEPT OF EDUCATION              Unsecured           0.00           NA            NA            0.00        0.00
WASTE MANAGEMENT                  Unsecured          60.65         60.65         60.65           0.00        0.00


Summary of Disbursements to Creditors:
                                                               Claim           Principal                Interest
                                                             Allowed               Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00                $0.00                $0.00
      Mortgage Arrearage                                       $0.00                $0.00                $0.00
      Debt Secured by Vehicle                                  $0.00                $0.00                $0.00
      All Other Secured                                      $404.44                $0.00                $0.00
TOTAL SECURED:                                               $404.44                $0.00                $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00              $0.00                   $0.00
       Domestic Support Ongoing                               $0.00              $0.00                   $0.00
       All Other Priority                                $62,421.63         $59,447.59                   $0.00
TOTAL PRIORITY:                                          $62,421.63         $59,447.59                   $0.00

GENERAL UNSECURED PAYMENTS:                              $35,467.20                 $0.00                $0.00




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Disbursements:

         Expenses of Administration                             $6,460.05
         Disbursements to Creditors                            $59,447.59

TOTAL DISBURSEMENTS :                                                                      $65,907.64


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 01/18/2017                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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